Case: 5:21-cv-00157-CHB-MAS Doc #: 1-1 Filed: 06/07/21 Page: 1 of 9 - Page ID#: 4




                                                                                    Presiding Judge: HON. KIMBERLY BUNNELL (622203)
                                                                                    COM : 000001 of 000009
Case: 5:21-cv-00157-CHB-MAS Doc #: 1-1 Filed: 06/07/21 Page: 2 of 9 - Page ID#: 5




                                                                                    Presiding Judge: HON. KIMBERLY BUNNELL (622203)
                                                                                    COM : 000002 of 000009
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                                                                                    Presiding Judge: HON. KIMBERLY BUNNELL (622203)
                                                                                    COM : 000003 of 000009
Case: 5:21-cv-00157-CHB-MAS Doc #: 1-1 Filed: 06/07/21 Page: 4 of 9 - Page ID#: 7




                                                                                    Presiding Judge: HON. KIMBERLY BUNNELL (622203)
                                                                                    COM : 000004 of 000009
Case: 5:21-cv-00157-CHB-MAS Doc #: 1-1 Filed: 06/07/21 Page: 5 of 9 - Page ID#: 8




                                                                                    Presiding Judge: HON. KIMBERLY BUNNELL (622203)
                                                                                    COM : 000005 of 000009
Case: 5:21-cv-00157-CHB-MAS Doc #: 1-1 Filed: 06/07/21 Page: 6 of 9 - Page ID#: 9




                                                                                    Presiding Judge: HON. KIMBERLY BUNNELL (622203)
                                                                                    COM : 000006 of 000009
Case: 5:21-cv-00157-CHB-MAS Doc #: 1-1 Filed: 06/07/21 Page: 7 of 9 - Page ID#: 10




                                                                                     Presiding Judge: HON. KIMBERLY BUNNELL (622203)
                                                                                     COM : 000007 of 000009
Case: 5:21-cv-00157-CHB-MAS Doc #: 1-1 Filed: 06/07/21 Page: 8 of 9 - Page ID#: 11




                                                                                     Presiding Judge: HON. KIMBERLY BUNNELL (622203)
                                                                                     COM : 000008 of 000009
Case: 5:21-cv-00157-CHB-MAS Doc #: 1-1 Filed: 06/07/21 Page: 9 of 9 - Page ID#: 12




                                                                                     Presiding Judge: HON. KIMBERLY BUNNELL (622203)
                                                                                     COM : 000009 of 000009
